                                         Case 3:19-cv-04238-MMC Document 125 Filed 02/19/20 Page 1 of 1




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                                  3                            IN THE UNITED STATES DISTRICT COURT

                                  4                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  6      PROOFPOINT, INC., et al.,                       Case No. 19-cv-04238-MMC
                                                        Plaintiffs,
                                  7
                                                                                         ORDER DENYING WITHOUT
                                                  v.                                     PREJUDICE DEFENDANTS' MOTION
                                  8
                                                                                         FOR RELIEF FROM NONDISPOSITIVE
                                  9      VADE SECURE, INCORPORATED, et                   PRETRIAL ORDER OF MAGISTRATE
                                         al.,                                            JUDGE
                                  10                    Defendants.
                                  11

                                  12            By order filed January 31, 2020 ("January 31 Order"), Magistrate Judge Robert M.
Northern District of California
 United States District Court




                                  13   Illman, in ruling on a dispute set forth in a letter brief submitted by the parties, found that
                                  14   the Federal Rules of Civil Procedure, rather than Hague Convention procedures, would
                                  15   govern discovery in the above-titled case.
                                  16            Now before the Court is defendants' Motion, filed February 20, 2020, "for Relief
                                  17   From Nondispositive Pretrial Order of Magistrate Judge," whereby defendants seek an
                                  18   order vacating in part Magistrate Judge Illman's January 31 Order. That same date,
                                  19   however, defendants filed a "Motion for Leave to File a Motion for Reconsideration of
                                  20   Order," whereby defendants ask Magistrate Judge Illman to reconsider his January 31
                                  21   Order.
                                  22            Under the circumstances, the Court finds defendants' Motion for Relief From
                                  23   Nondispositive Pretrial Order of Magistrate Judge is premature, and, accordingly, said
                                  24   motion is hereby DENIED, without prejudice to renoticing, if appropriate, after resolution
                                  25   of the Motion for Leave to File a Motion for Reconsideration of Order.
                                  26            IT IS SO ORDERED.
                                  27   Dated: February 19, 2020
                                                                                                 MAXINE M. CHESNEY
                                  28                                                             United States District Judge
